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                                    TYPE OF HEARING:
                                    CASENUMBER:
                                    MAGISTRATE JUDGE: Ivan D. Davis
                                    DATE: 11/27/2018
                                    TIME: 10:00 a.m.
EASTERN DISTRICT OF VIRGINIA        TAPE: FTR RECORDER
                                    DEPUTY CLERK: Laura Guerra
UNITED STATES OF AMERICA

           VS.

p>\cx.ne ?.
GOVT. ATTY:      V-L^ockx.   ViXO
DEFT'S ATTY:

DUTY AFPD:

INTERPRETER/LANGUAGE

DEFT INFORMED OF RIGHTS,CHARGES AND PENALTIES( )
DEFT INFORMED OF RIGHTS AND THE VIOLATIONS(X)
COURT TO APPOINT COUNSEL( ) FPD( )CJA( )Conflict List( )
        Vo trt>g{>ipe>\r\V 'F-PD. 'OePV^ v-AQ>rScO \d CooVirv->e-
(^yrxAVcd.



BOND:




( )DEFT IS REMANED TO THE CUSTODY OF THE USMS DUE TO
( )RISK OF NON APPEARANCE( )SAFETY OF THE COMMUNITY
( )DEFT RESERVES THE RIGHT OF THE COURTS DETERMINATION AS TO
DETENTION BASED ON A CHANGE OF CIRCUMSTANCES
                                                                 \o\ooa.nr\
NEXT COURT APPEARANCE _         V\^\\CV                ^TIME _
                                                            WD

                                                                 2xY>,vrN
